                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

            Gerald Jones,             )              JUDGMENT IN CASE
                                      )
             Plaintiff(s),            )             3:20-cv-00310-RJC-DSC
                                      )
                 vs.                  )
                                      )
       Gary L. McFadden, et al        )
            Defendant(s).             )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s September 25, 2020 Order.

                                               September 25, 2020




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